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 5
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 6 United States of America

 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-190 GEB KJN
11
                                    Plaintiff,           MOTION FOR PROTECTIVE ORDER AND
12                                                       ORDER THEREON
                            v.
13                                                       Date: May 13, 2016
     LARRY TODT,                                         Time: 2:00pm
14
                                    Defendant.
15

16

17          The United States moves for a protective order to prevent the unauthorized disclosure or
18 dissemination of certain sensitive but unclassified discovery materials to anyone not a party to the court

19 proceedings in this matter;

20          The sensitive but unclassified discovery materials at issue include information pertaining to
21 victims or potential victims in this case, including personal identifying information, identification

22 documents such as driver’s licenses, social security cards, and bank accounts;

23          The entry of a protective order is appropriate in light of the nature of the information at issue and
24 the charges in this case; and

25          The defendant, proceeding pro se, has requested discovery. The discovery in this case is
26 voluminous, in excess of 55,000 pages. The government submits that it is impractical to provide the

27 defendant, who is in custody, with a paper copy of the discovery. Rather, the government proposes that

28 an electronic copy of the discovery be provided to defendant’s stand-by counsel, under the terms of the

                                                          1
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 1 following protective order:

 2          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 3 Criminal Procedure, its general supervisory authority, and Local Rule 141.1.

 4          2.      This Order pertains to all discovery provided to or made available to standby counsel that

 5 is identified as sensitive and subject to a protective order in this case (hereafter, collectively known as

 6 “the protected discovery”).

 7          3.      Standby counsel shall not disclose any of the protected discovery to any person other than

 8 the defendant, or attorneys, law clerks, paralegals, secretaries, experts, and investigators, involved in the

 9 representation of his client. Standby counsel may provide copies of any portion of the discovery directly

10 to defendant if standby counsel redacts sensitive information from that discovery.

11          4.      The protected discovery and information therein may only be used in connection with the

12 litigation of this case and for no other purpose. The protected discovery is now and will forever remain

13 the property of the United States Government. Standby counsel will return all discovery, including any

14 copies provided to the defendant, to the Government, or certify that it has been shredded or otherwise

15 destroyed at the conclusion of the case.

16          5.      Standby counsel will store the discovery in a secure place and will use reasonable care to

17 ensure that it is not disclosed to third persons in violation of this agreement.

18          6.      If standby counsel releases custody of any of the protected discovery, or authorized

19 copies thereof, to any person described in paragraph (3), standby counsel shall provide such recipients

20 with copies of this Order and advise that person that the protected discovery is the property of the United

21 States Government, that the protected discovery and information therein may only be used in connection

22 with the litigation of this case and for no other purpose, and that an unauthorized use of the protected

23 discovery may constitute a violation of law and/or contempt of court.

24          7.      In the event that the defendant obtains substitute standby counsel or substitute counsel,

25 standby counsel will withhold the protected discovery from new counsel unless and until substituted

26 counsel agrees to be bound by this Order.

27          8.      Standby counsel shall be responsible for advising the defendant and other members of the

28 defense team of the contents of this Order.

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 2 Dated: May 5, 2016                         Respectfully submitted,

 3
                                              BENJAMIN B. WAGNER
 4                                            United States Attorney

 5                                      By:   /s/ Audrey B, Hemesath
                                              AUDREY B. HEMESATH
 6                                            Assistant U.S. Attorney

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 8
                                          ORDER
 9
          IT IS SO FOUND AND ORDERED.
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11        Dated: May 13, 2016

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